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      UNITED STATES BANKRUPTCY COURT
      DISTRICT OF NEW JERSEY
      Caption in compliance with D.N.J. LBR 9004-1(b)

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                                                                      U.S. Bankruptcy Court
                                                                      District of New Jersey
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      Co-Counsel Johnson & Johnson and
      Johnson & Johnson Holdco (NA) Inc.

      In re                                                 Chapter 11

      LTL MANAGEMENT LLC,                                   Case No. 23-12825 (MBK)

                       Debtor.1                             Honorable Michael B. Kaplan


                              ORDER FOR ADMISSION PRO HAC VICE

              The relief set forth on the following pages, numbered two (2) through and including three

     (3), is hereby ORDERED.

DATED: April 14, 2023
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       This matter having been brought before the Court on application for an Order For

Admission Pro Hac Vice; and the Court having reviewed the moving papers of the applicant, an

out-of-state attorney, and considered this matter pursuant to Fed.R.Civ.Proc.78, D.N.J.

L.Civ.R.101.1 and D.N.J. LBR 9010-1, and good cause having been shown;

       IT IS HEREBY ORDERED THAT:

       1.      Matthew E. Linder is hereby permitted to appear pro hac vice; provided that

pursuant to D.N.J. L. Civ. R. 101.l(c)(4), an appearance as counsel of record shall be filed

promptly by a member of the bar of this Court upon whom all notices, orders and pleadings may

be served, and who shall promptly notify the out-of-state attorney of their receipt. Only an

attorney at law of this Court may file papers, enter appearances for parties, sign stipulations, or

sign and receive payments on judgments, decrees or orders.

       2.      The applicant shall arrange with the New Jersey Lawyers’ Fund for Client

Protection for payment of the annual fee, for this year and for any year in which the out-of-state

attorney continues to represent a client in a matter pending in this Court in accordance with New

Jersey Court Rule 1:28-2 and D.N.J. L. Civ. R. 101.1, said fee to be deposited within twenty (20)

days of the date of the entry of this Order.

       3.      The $150.00 fee required by D.N.J. L. Civ. R. 101(c)(3) for pro hac vice admission

to the District Court for the District of New Jersey shall also be payable within twenty (20) days

of entry of this Order. Payment in the form of a check must be payable to “Clerk, USDC” and

forwarded to the Clerk of the United States District Court for the District of New Jersey at the

following address:



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                                      United States District Court
                                        District of New Jersey
                                Martin Luther King, Jr. Federal Building
                                           50 Walnut Street
                                         Newark, N.J. 07102
                                 Attention: Pro Hac Vice Admissions

       4.      The applicant shall be bound by the Local Rules of the United States District Court

for the District of New Jersey and the Local Rules of Bankruptcy Procedure for the District of

New Jersey.

       5.      The Clerk shall forward a copy of this Order to the Treasurer of New Jersey

Lawyers' Fund for Client Protection within 5 days of its date of entry.
